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11/12/22, 11:00 AM      1:22-cv-03861 Document #: Yahoo
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                                                             - Student            PageProgram
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     Student Loan Forgiveness Program

     From: Dr. Fred L Nance Jr., Ph.D. (frednance@clickservices.org)

     To:      washhattie@gmail.com

     Cc:      frednance@clickservices.org
     Date: Tuesday, May 17, 2022 at 12:28 PM CDT



     Dr. Wash:

     Good afternoon. I am applying for the Student Loan Forgiveness program. Please complete the
     Employer Certification portion of the documents attached (section 4, years 2010-2012 & 2018-
     2020) and send it back to me. Thank you.

     /s/Dr. Fred Nance Jr.
     Ph.D. Human Services
     Social Policy Analysis and Planning
     Founder & CEO, C.L.I.C.K. Services
     http://www.clickservices.org
     http://www.linkedin.com/in/drnance
     708-921-1395

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